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                              UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

    AMERISURE INSURANCE COMPANY and
    AMERISURE MUTUAL INSURANCE
    COMPANY,
    Plaintiffs,

    v.                                                      Case No. 3:16-cv-00407-BJD-JRK

    THE AUCHTER COMPANY, ARCH
    INSURANCE COMPANY, LANDMARK
    AMERICAN INSURANCE COMPANY,
    TSG INDUSTRIES, INC. and
    B & B OF DUVAL COMPANIES, INC.,

    Defendants.
    _____________________________________/

 AMERISURE INSURANCE COMPANY’S AND AMERISURE MUTUAL INSURANCE
 COMPANY’S MOTION TO STRIKE THE OPINIONS OF STEVEN C. SHIMP AND TO
   BAR STEVEN C. SHIMP FROM OFFERING ANY TESTIMONY AT TRIAL AND
                 INCORPORATED MEMORANDUM OF LAW

         Defendants, AMERISURE INSURANCE COMPANY and AMERISURE MUTUAL

INSURANCE COMPANY (“collectively Amerisure”), by and through undersigned counsel, and

pursuant to Fed. R. Evid. 702, move to strike the opinions and reports of Steven C. Shimp, which

were submitted by Defendant ARCH INSURANCE COMPANY (“Arch”), and to bar Mr. Shimp

from testifying at trial. In support thereof, Amerisure states as follows:

I.       INTRODUCTION

         This is an insurance coverage dispute wherein Arch seeks to recover certain amounts

awarded in the Final Judgment1 entered in the Underlying Action2 from Amerisure under certain

Commercial General Liability (“CGL”) policies of insurance issued to The Auchter Company



1
 “Final Judgment” refers to the Final Judgment entered in the Underlying Action entered on November 5, 2014.
2
 The “Underlying Action” refers to the matter styled Riverside Partners, Ltd. v. The Auchter Company, et al., Case
No. 16-2010-CA-006433, Fourth Circuit, Duval County, Florida.
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(“Auchter”). The Underlying Action involved the construction of a building known as the

Everbank Plaza building (“the Project”). Arch has disclosed Steven C. Shimp as a purported expert

to offer opinions as to: the characterization of the Final Judgment’s award relating to defective

window, storefront, and curtainwall system, and Auchter’s alleged professional services at the

Project. Mr. Shimp’s reports are patently and irretrievably deficient and unreliable.

       Mr. Shimp offers statements seeking to alter or recast the findings of the underlying trial

court in the Final Judgment. Arch, as a party in the Underlying Action, is bound by those findings

and barred from challenging same. Oddly, in seeking to recast the Final Judgment, Mr. Shimp

offers no opinions of his own, much less ones containing any specialized, technical, knowledge or

methodology that would assist the trier of fact. Instead, he parrots the statements made by

witnesses in the Underlying Action, and regurgitates their conclusions. Equally improper, Arch

attempts to use Mr. Shimp’s opinions to interpret and negate the plain language of the Construction

Contract entered between Auchter and Riverside Avenue Partners, Ltd. (“RAP”), and to provide

legal conclusions relating to same – none of which, notably, are contained in or consistent with the

Final Judgment. And, Mr. Shimp’s statements lack the basic indicia of an expert’s opinion (i.e.,

testing, proven methodology, or any other factor) that would satisfy the requirements in Daubert

v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589 (1993)(“Daubert”). By any objective measure,

Mr. Shimp’s “opinions” fail to meet the requirements under Fed. R. Evid. 702, and the standards

set forth in Daubert. Thus, this Court should strike Mr. Shimp’s reports and “opinions”, and bar

Mr. Shimp from offering any testimony at trial.

II.    BACKGROUND

       A.      Arch’s Disclosure of Steven Shimp

       On October 14, 2016, Arch disclosed Steven C. Shimp as a purported expert witness, and

served two reports entitled: (1) “Opinion of Steven Shimp, P.E. Regarding Failure of The Auchter
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Company to Provide Contractor’s Professional Services” (“Opinion on Professional Services”),

and; (2) “Opinion of Steven C. Shimp, P.E. Regarding the Award of Damages for Defective

Window, Storefront and Curtainwall” (“Opinion on Defective Window System”). Copies of these

are attached hereto as Exhibits “A” and “B”.

        In both reports, Mr. Shimp anoints himself as qualified to offer opinions because he asserts

he has expertise in “multiple aspects of the business of general contracting, general construction

contracts, financing of construction projects and project funding practices in the construction

industry.” Exhibits A & B, p. 1. He also states in both reports that he was a testifying expert in

the Underlying Action. Id., at p. 1-2. Mr. Shimp did not offer any opinions as to “professional

services”, contract interpretation or the alleged defects of the window, storefront or curtainwall in

the Underlying Action.

        B.      Final Judgment of the Trial Court in the Underlying Action

        The Underlying Action arose out of alleged deficiencies in the construction of the Project.

Exhibit “C”, Final Judgment. Auchter was the general contractor, and Arch was the surety. Id.,

at p. 2. Arch undertook the completion of the Project after Auchter was unable to complete the

Project. Id., at p. 6.

        The Underlying Action proceeded to trial, which, after a twenty-eight (28) day trial, the

trial court entered the Final Judgment. Id., at p. 3. Based on the testimony of witnesses,

documentary evidence and other material, the trial court awarded certain damages to RAP. Id.

The trial court entered an award against Auchter in the amount of $11,267,515.75, and an award

against Arch in the amount of $8,791,460.72. [Exhibit C, p. 85]. The amounts awarded against

Auchter and Arch were not duplicative, but rather were for each entities’ own liability to RAP.

Out of the amounts awarded against Auchter, the trial court awarded the amount of $5,067,033.01

for building envelope claims, and $2,586,625.86 for the completion of punch list items, [Id., at pp.
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45, 51]. The trial court also awarded $3,613,856.88 for “delay” damages for Auchter’s failure to

complete the Project as per the terms of the Construction Contract. [Id., at pp. 32-39, 55].

        In ruling in favor of RAP, the trial court considered the testimony of many witnesses,

including Mark Baker of IBA Consultants, Inc. (“IBA”).                    Mr. Baker directed the forensic

inspection and testing of the building envelope, analyze the appropriate repair and determined the

cost of repairs. Id., p. 15. The trial court further noted that Mr. Baker was the only individual that

performed testing on the window system of the Project. Id., at p. 43. Arch’s experts did not

perform testing on the window system, nor did Mr. Shimp perform any testing at the Project or

speak with any of the subcontractors. Id., at p. 39-40.

        Mr. Shimp, rather, was retained by Arch as a witness to rebut RAP’s claim for “delay”

damages incurred on the Project because of Auchter’s and Arch’s failure to complete the Project

within the contractually-required time frame, and; to provide an opinion on construction industry

practices for approving pending change orders (“PCOs”) claimed by Arch, and their value. Id., at

p. 54; 63-70. The trial court rejected Mr. Shimp’s opinion on “delay” damages on the basis that is

was unrealistic; it did not take into account the actual progress of the work and the activities

affecting tenant improvements. Id., at p. 54. The trial court also rejected many of Mr. Shimp’s

opinions and conclusions on whether Arch could recover amounts on the PCOs. Id., at p. 63-70.

As to many of the PCOs, the trial court found Mr. Shimp’s opinions to be speculative, lacking the

requisite actual knowledge, not credible, and based on statements from subcontractors as opposed

to personal knowledge.3 The trial court further stated that, as to several PCOs, “Shimp had no

actual knowledge of the true cause of [the] problem”; he “did not physically inspect the site, did



3
 The trial court found that Mr. Shimp’s opinion on the recovery of PCOs nos. 85, 86, 134, 41, 61, 100, and 145 was
speculative. Id., p. 63-70.

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not speak with subcontractors,” and; “rough compute[d]” certain values as to the PCOs. Id., at p.

68-70. The trial court also found that Mr. Shimp’s opinion on allocation of utility costs was

“arbitrary and lacked the necessary predicate under the Daubert standard.” Id., at p. 70.

       C.          Mr. Shimp’s Purported Opinions

       Despite his limited use in the Underlying Acton, Arch now purports to use Mr. Shimp to

offer opinions, which he did not, and could not, offer in the Underlying Action. Initially, Mr.

Shimp states, “[i]t is my opinion that:”

       (a)         Auchter “provided insufficient supervision on the RAP project, rendering it
                   virtually impossible to provide suitable inspection services of the work”;

       (b)         Auchter failed to provide suitable mock-up and pre-installation meetings;

       (c)         the “leakage experienced on the project was sufficient to make it appropriate
                   to provide testing as was called in the specifications….”, and;

       (d)         “the above three services are professional services that are necessary and
                   incidental to the conduct of general contracting business.”

Exhibit A, p. 6.

       Mr. Shimp based his opinions on various contractual requirements contained in the

Construction Contract, such as sections 3.3, 13.5, and other sections of the Construction Contract.

Exhibit A, p. 3-4.

       Additionally, Mr. Shimp states: “[i]t is my opinion that:”

             (a)      “The [trial] Court’s reliance on IBA’s diagnostic testing and both non-
                      destructive and destructive inspections was justified.”

             (b)      “IBA’s testimony that, absent correction of the defects, the windows
                      would leak further as a result of gasket shrinkage and would cause
                      continued water damage to the tenant spaces was valid.”

             (c)      “The methodology presented by IBA to accomplish the remediation,
                      including the damage to the drywall and acoustical work of others
                      resulting from the correction of TSG’s work, was the least cost remedy
                      to the defect.”

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            (d)      “IBA’s estimate of $3,762,821 to correct TSG’s work was reasonable.”

            (e)      “IBA/Auld & White’s estimate of damage to work of others in the
                     amount of $1,062,492 was reasonable.”

Exhibit B, p. 6.

III.   MEMORANDUM OF LAW

       Arch should be barred from offering or utilizing, in any way, Mr. Shimp’s professed

opinions in this matter, as such opinions seek to undo or recast the findings and rulings made in

the Final Judgment, which are binding on Arch. Further, Mr. Shimp’s opinions do not comport

with the requirements under Federal Rule of Evidence 702 and/or the Daubert standards.

       A.         The Final Judgment in the Underlying Action Binds Arch

       Arch, through Mr. Shimp, attempts to re-litigate facts and or alter the holdings made by the

trial court in the Final Judgment. It does so despite being a litigant in the Underlying Action,

having had an opportunity to present evidence in support of its positions – including presenting

Mr. Shimp as a witness – and despite having settled all claims following the entry of the Final

Judgment. Arch’s attempt to recast the findings and conclusions in the Final Judgment is

proscribed. Mid-Continent Cas. Co. v. Clean Seas Co. Inc., 860 F. Supp. 1318, 1326-27 (M.D.

Fla. 2012) (finding that the parties were bound by the factual determinations made by the trial

court in the underlying action, and that those factual determinations could not be re-litigated in

subsequent coverage action).

       The rulings made by the trial court in the Underlying Action are conclusive. As such, Arch

cannot attempt to re-cast the facts through the use of Mr. Shimp and his report in an attempt to

circumvent the factual findings made by the trial court. “[A] final judgment or decree on the merits

by a court of competent jurisdiction constitutes an absolute bar to a subsequent suit on the same

cause of action and is conclusive of all issues which were raised or could have been raised in the

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action.”   Brown v. R.J. Reynolds Tobacco Co., 611 F.3d 1324, 1332 (11th Cir. 2010));

Southeastern Fidelity Ins. Co. v. Rice, 515 So.2d 240, 242 (4th DCA 1987) (stating that factual

findings and final judgment are binding on the parties in the underlying lawsuit and their insurance

carriers, and those parties are estopped from re-litigating those issues).

       Moreover, given that the duty to indemnify is measured by the actual facts – which are

facts established during trial by the the trial court – and Mr. Shimp’s opinions cannot be used to

change the actual facts – particularly where Arch unilaterally settled the case shortly after issuance

of the Final Judgment. “The duty to indemnify [under a CGL policy] is narrower than the duty to

defend and depends upon actual coverage measured by the facts as they unfold at trial or are

inherent in the settlement agreement." citing IDC Constr., LLC v. Admiral Ins. Co., 339 F. Supp.

2d 1342, 1349 (S.D. Fla. 2004); State Farm Fire & Cas. Co. v. CTC Dev. Corp., 720 So. 2d 1072,

1077 n.3 (Fla. 1998). Facts “inherent in” a settlement agreement are those “facts extant at the time

the settlement was reached.” Travelers Indem. Co. of Ill. v. Royal Oak Enters., Inc., 344 F. Supp.

2d 1358, 1366 (M.D. Fla. 2004). As the duty to indemnify is measured by the actual facts adduced

at trial, i.e., Final Judgment, Arch cannot re-litigate those same issue in the coverage action by

using a purported expert to get a second bite at the apple. See Kearney v. Auto-Owners, Ins. Co.,

2009 WL 3712343 *2 (M.D. Fla. November 5, 2009); Travelers Indem. Co. of Ill. v. Royal Oak

Enters., Inc., 344 F. Supp. 2d 1358, 1366 (M.D. Fla. 2004) (stating that the duty to indemnify is

measured by the facts adduced at trial). “[T]o determine whether there is a duty to indemnify, one

looks at the actual facts, not only those that were alleged in the state court complaint.” Stephens

v. Mid-Continent Cas. Co., 749 F.3d 1318, 1325-26 (11th Cir. 2014).

       Here, Arch seeks to recover for amounts awarded against Auchter and Arch in the Final

Judgment and settled by Arch. [D.E. 116, p. 11-19]. Witnesses from RAP, Arch and Auchter,

testified concerning the parties’ obligations under the Construction Contract, the proposed repair
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and replacement of the window system, and the economic damages sustained by RAP as a result

of the alleged breach of contract. Exhibit C, p. 2-4. The actual fact adduced at trial included

specific factual determinations concerning the cause of the water intrusion (i.e., failure to use

specified factory gaskets, and sealants installed in wrong location [Exhibit C, p. 15]), the repair

protocol (i.e., approving IBA’s and Auld & White’s methodology for performing interior repairs

to correct the window system [Exhibit C, p. 43-44]), and the amounts awarded for conducting the

repairs. No mention or finding is made as to “continued water damage to tenant spaces” in the

Final Judgment, nor is there any indication of same in IBA’s or Auld & White’s “estimates” the

underlying trial court considered and awarded in the Final Judgment, and which Mr. Shimp anoints

as being “reasonable”. Exhibit B, p. 6. In being a party to the Underlying Action, Arch is bound

by the findings in the Final Judgment, and may not seek to recast such findings as a means to re-

package and pass its responsibility onto to others – particularly through an individual, i.e., Mr.

Shimp, whose testimony on contract and economic issues was largely rejected. See Kearney, 2009

WL 3712343 *2 (stating that damages awarded, which were established in underlying lawsuit,

cannot be re-litigated in insurance coverage action); Southeastern Fidelity Ins. Co., 515 So.2d at

242 (stating that trial court’s determination in underlying lawsuit as to the factual and legal issues

could not be re-litigated in subsequent coverage action between insured and insurance carrier.).

Arch is, thus, bound by the Final Judgment. And, its attempt to re-characterize or re-classify same

through Mr. Shimp’s statements is prohibited.

       B.      Legal Standard for the Admission of Expert Testimony

       The admission of expert testimony is governed by Federal Rule of Evidence 702, which

states that an expert witness “may testify in the form of an opinion or otherwise if: (1) the expert’s

scientific, technical, or other specialized knowledge will help the trier of fact to understand the

evidence or to determine a fact in issue; (2) the testimony is based on sufficient facts or data; (3)
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the testimony is the product of reliable principles and methods; and (4) the expert has reliably

applied the principles and methods to the facts of the case.” Fed. R. Evid. 702.

       In addition to the requirement under Fed. R. Evid. 702, an expert witness cannot mimic the

testimony of another expert. Eberli v. Cirrus Design Corporation, 615 F. Supp. 2d 1357, 1364

(S.D. Fla. 2009) (stating that an expert dos not assist the trier of fact by merely parroting the

opinions of others), citing to Ohio Environmental Development Ltd. Partnership v. Envirotest

Systems Corp., 478 F. Supp. 2d 963, 976 (N.D. Ohio 2007) (internal quotations and citation

omitted); Malletier v. Dooney & Bourke, Inc., 525 F. Supp. 2d 558, 664 (S.D.N.Y. 2007) (“the

expert witness must in the end be giving his own opinion. He cannot simply be a conduit for the

opinion of an unproduced expert.”); Reginald Martin Agency, Inc. v. Conseco Medical Ins. Co.,

2007 WL 831613, *3 (S.D. Ind. Mar. 5, 2007) ("What an expert may not do is act as a `mouthpiece'

for another undisclosed expert.”). Experts must make some findings and not regurgitate another

expert's opinion. Robinson v. Ford Motor Co., 967 F. Supp. 482, 487 n. 2 (M.D. Ala. 1997).

       In determining the admissibility of expert testimony under Fed. R. Evid. 702, the Court

applies a “rigorous” three-part inquiry. U.S. v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004) (en

banc). Expert testimony is admissible if: (1) the expert is qualified to testify competently regarding

the matters he intends to address; (2) the methodology by which the expert reaches his conclusions

is sufficiently reliable; and (3) the testimony assists the trier of fact. City of Tuscaloosa v. Harcros

Chems., Inc., 158 F.3d 548, 562 (11th Cir. 1998) (citing Daubert, 509 U.S. at 589). The Court

must act as the “gatekeeper”, and decide whether the expert is qualified, and the expert’s testimony

is relevant and reliable. Kumho Tire Co. v. Carmichael, 526 U.S. 137, 144 (1999).

       The proponent of expert testimony always bears “the burden to show that his expert is

‘qualified to testify competently regarding the matters he intend[ed] to address; [] the methodology

by which the expert reach[ed] his conclusions is sufficiently reliable; and [] the testimony assists
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 the trier of fact.’” McCorvey v. Baxter Healthcare Corp., 298 F.3d 1253, 1257 (11th Cir. 2002)

 (alterations in original). “An expert may not [] merely tell the jury what result to reach.”

 Montgomery v. Aetna Cas. & Sur. Co., 898 F.2d 1537, 1541 (11th Cir. 1990).

             1.     Mr. Shimp Offers No Opinions

        Mr. Shimp offers no opinions as to the alleged defective windows or the need to remedy

 the defects at the Project; rather, he merely references and mimics the conclusions of others. “An

 expert who supplies nothing but a bottom line, supplies nothing of value to the judicial process.”

 Mid-State Fertilizer Co. v. Exchange National Bank, 877 F.2d 1333, 1339 (7th Cir. 1989);

 Robinson, 967 F. Supp. 487 n.2. An expert may not parrot or adopt the position of others. TK-7

 Corp. v. Estate of Barbouti, 993 F.2d 722, 733 (10th Cir. 1993) (stating that an expert cannot

 merely recite another expert’s opinion); Mike's Train House, Inc. v. Lionel, LLC, 472 F.3d 398,

 409 (6th Cir. 2006) (stating that an expert cannot directly testify as to the conclusions of another

 expert). In regurgitating the estimates and conclusions of others, Mr. Shimp’s reports and his

 purported opinions contained therein, demonstrate no technical or specialized knowledge. Louis

 Vuitton Malletier v. Dooney & Bourke, Inc., 525 F. Supp. 2d 558, 664 (S.D.N.Y. 2007) (stating

 that an expert must give his own opinion and cannot be a “conduit” for the opinion of another

 witness).

        A similar report was stricken in Eberli, 615 F. Supp. 2d at 1364. There, defendants filed a

 motion to bar the testimony of plaintiff’s expert David Klepacki, an aircraft engine expert, on the

 basis that his opinion was based solely on flight testing done by another expert, Dr. Butler.

 Defendants argued that Mr. Klepacki’s opinion was not based on any specialized, technical,

 knowledge or methodology and would not assist the trier of fact because “it merely parrots another

 expert’s opinion.” Eberli, 615 F. Supp. 2d at 1365. The district court agreed, and found that Mr.

 Klepacki’s opinion would not assist the trier of fact as the sole basis for his conclusions were based
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 on Dr. Butler’s testing. According to the district court, Mr. Klepacki’s opinion did not satisfy the

 Daubert requirements as he “made no findings regarding the breather line; instead it appears that

 he simply adopted Dr. Butler’s conclusions … [s]uch methodology surely does not satisfy the

 Daubert standards.           Thus, Mr. Klepacki will be precluded from testifying regarding his

 conclusions…” Id., at 1366; Bouygues Telecom, S.A. v. Tekelec, 472 F. Supp. 2d 722, 729

 (E.D.N.C. 2007) ("the wholesale adoption of the opinion of another expert verbatim cannot be

 within the intent of Fed. R. Evid. 702” and the court “performing its gatekeeping function

 necessarily must ensure that [the expert] is not merely parroting the opinions of others”); Fowler

 v. United States, 2009 WL 2827958, *9 n.59 (W.D. La. Sept. 1, 2009) ("It is well settled that an

 expert ... may not simply parrot the work actually done by another expert ....”).

            Like in Eberli, Mr. Shimp’s report as to the defective window system should be stricken,

 and Mr. Shimp should be barred from testifying. Indeed, Mr. Shimp does nothing in his report but

 parrot the estimates and statements made by other witnesses (i.e., IBA and Auld & White) and

 vouch for the underlying court’s finding as being “justified.” See Exhibit “B”, p. 6. Mr. Shimp’s

 “opinions” do not contain any of his own findings, nor has he conducted any tests, (“[t]he Court’s

 reliance on IBA’s diagnostic testing and both non-destructive and destructive inspections was

 justified.”),4 or provide any methodology that forms the basis of his opinions as required under

 Fed. R. Evid. 702. To be admissible, an expert must offer an opinion that assists the trier of fact

 through the application of scientific, technical, or specialized knowledge to understand the

 evidence or to determine a fact at issue. Rink v. Cheminova, Inc., 400 F.3d 1286, 1291-92 (11th

 Cir. 2005). As Mr. Shimp’s “opinions” are devoid of any such knowledge, and merely regurgitate

 the statements and conclusions of others, he fails to satisfy the Daubert standards.



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     Exhibit “B”, Mr. Shimp’s Report, p. 6.
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        Part and parcel with failing to offer any opinions, Mr. Shimp purports to recycle the hearsay

 of others. It is inadmissible hearsay for an expert to use opinion testimony of another expert in

 order to bolster or support his opinion. See United States v. Tran Trong Cuong, 18 F.3d 1132,

 1143 (4th Cir. 1994) (holding that an expert witness could not bolster his opinion testimony by

 testifying that a non-testifying expert's conclusions were essentially the same as his opinion

 testimony). In Tran Trong Cuong, the Circuit Court found that an expert witness may not bolster

 or support his opinion by saying that another expert agrees with his conclusions. Id. There, Dr.

 MacIntosh – a medical expert – testified that he reviewed another expert’s opinions and charts,

 and then proceeded to opine that his findings were essentially the same as that other expert. Id.;

 Mike’s Train House, Inc., 472 F.3d at 409-410 (stating that Fed. R. of Evidence 703 does not allow

 an expert witness to testify that his opinions are similar to the opinions of another expert).

        Here, Mr. Shimp does even less than the experts in Tran Trong Cuong. Mr. Shimp did no

 testing and drew no conclusions or his own; instead he merely references and purports to vouch

 for Mr. Baker’s conclusions and estimates as a means to presumably satisfy his own Daubert

 shortcomings (i.e., lack of any testing, investigation and methodology). United States v. Grey

 Bear, 883 F.2d 1382, 1392-93 (8th Cir. 1989) ("We are persuaded that Fed. R. Evid. 703 does not

 permit an expert witness to circumvent the rules of hearsay by testifying that other experts, not

 present in the courtroom, corroborate his views.”). Mr. Shimp’s vacuous report is impermissible

 and inadmissible. Thus, the report and opinions contained therein should be stricken, and Mr.

 Shimp should be barred from offering such “opinions” at trial.

            2.      Mr. Shimp Offers Inadmissible Legal Conclusions

        Mr. Shimp’s opinion on “professional services” should be stricken as – in addition to

 seeking to opine on an issue the trial court rejected in the Final Judgment – it offers legal

 conclusions on the interpretation of the Construction Contract. Specifically, Mr. Shimp makes
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 impermissible legal conclusions as to whether Auchter was required to provide “professional

 services” under the Construction Contract.         Mr. Shimp states that §3.3 Supervision and

 Construction Services, §13.5 Tests and Inspections, specification section 01400, and other sections

 required Auchter to provide professional services under the Construction Contract. Exhibit B, p.

 3-4, ¶¶10-11.

        An expert witness may not offer legal conclusions; only the Court may instruct the jury as

 to the state of the law. Montgomery, 898 F.2d at 1541. As such courts have excluded expert

 testimony that employs terminology with legal import. See Tillman v. C.R. Bard, Inc., 2015 U.S.

 Dist. Lexis 40338, *38 (M.D. Fla. Mar. 30, 2015). Where an expert offers an opinion as to the

 legal implications of the facts, that testimony also encroaches on the responsibilities of the judge

 and jury, and is inadmissible. Id.; see Dubiel v. Columbia Hosp. (Palm Beaches) L.P., 2005 WL

 5955691 *3-4 (S.D. Fla. Jan. 11, 2005) (striking expert's testimony that hospital operated in full

 compliance with Fair Labor Standards Act).

        In McMahan Securities Co., L.P. v. FB Foods, Inc., 2007 WL 473666 *2 (M.D. Fla. Feb.

 8, 2007), the district court struck an expert report that attempted to provide an opinion on the

 interpretation of the parties’ agreement, the activities performed by the parties under the

 agreement, and the acts constituting breach of the agreement – akin to what Mr. Shimp seeks to

 do. Id. Defendants argued that the expert’s opinion invaded the role of the district court by

 construing the meaning and effect of the agreement. Id., at 2-3. The district court agreed, excluded

 the expert’s opinion, and, in reaching its conclusion, echoed the precept that the interpretation of

 a written contract – and the duties and obligations stemming therefrom – is a matter of law to be

 determined by the court. Id., citing to DEC Elec., Inc. v. Raphael Const. Corp., 558 So. 2d 427,

 428 (Fla. 1990) (holding that an expert’s opinion purporting to proffer an interpretation of an

 agreement is an impermissible legal conclusion).
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            Here, Mr. Shimp attempts to construe the Construction Contract, and to provide an opinion

 as to the meaning of the Construction Contract (i.e., whether Auchter was contractually required

 to provide professional services), including whether Auchter’s actions and/or non-actions

 constitute a breach of the Construction Contract. Such opinions encroach on the role of the Court.

 See Montgomery, 898 F.2d at 1541 (stating “[a] witness may not testify to the legal implications

 of conduct”). Accordingly, Mr. Shimp’s “opinions” as to “Professional Services” should be

 stricken, and Mr. Shimp should be barred from offering such opinions at trial.

                3.       Mr. Shimp’s Opinions Fail the Daubert Standards

            Even if parroting another’s estimates and conclusions, or offering mere legal conclusions,

 could qualify as an admissible expert opinion under Fed. Rule Evid. 702, Mr. Shimp’s opinions

 are patently unreliable as they lack any kind of testing, proven methodology or any other factor

 that satisfies the Daubert requirements. Frazier, 387 F.3d at 1262-63 (expert testimony must be

 reliable). Contrary to what Daubert requires – an expert’s opinion and conclusion must “be based

 upon sufficient facts or data”5 – Mr. Shimp does not offer any opinions, much less one that is based

 on facts and data or testing. Part of the district court’s analysis under Daubert is to “ensure that

 speculative, unreliable expert testimony does not reach the jury.” R&R International, Inc. v.

 Manzen, LLC, 2010 WL 3605234 *7 (S.D. Fla. Sept. 10, 2010). Daubert’s intent and purpose are

 served by striking Mr. Shimp’s opinions.

                             a.   Mr. Shimp’s Opinions are Unreliable

            Mr. Shimp’s statements fall far short of the reliability factors set forth in Daubert; (“in

 determining whether an expert’s opinion is reliable the court looks at whether the methodology by

 which the expert reached his conclusions is sufficiently reliable”).6 Mr. Shimp attempts to provide


 5
     Daubert, 509 U.S. at 595.
 6
     Daubert, 509 U.S. at 589.
                                                    14
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 opinions on matters, which were not only outside the scope of his involvement on the Project,7 but

 lack the requisite supporting testing or facts. Indeed, as noted by the trial court in the Final

 Judgment, Mr. Shimp “did not physically inspect the site [and] did not speak with the

 subcontractors”, and that he did not have actual knowledge of the problems at issue on the Project.8

 Additionally, the trial court found Mr. Shimp’s testimony on many of the economic topics – topics

 notably he strays from in this matter – to be speculative and unpersuasive. Exhibit C, p. 54. As

 Mr. Shimp’s divergent opinions here are conjectural, unreasoned and untested, they provide no

 value to this Court or to the judicial process. Mid-State Fertilizer Co., 877 F.2d at 1340 (stating

 that “[a]n expert who supplies nothing but a bottom line supplies nothing of value to the judicial

 process” and judges should not be “buffaloed” by unreasoned expert opinions that simply draw

 inferences from the case record and give legal opinions).

         On point in demonstrating the unreliability of Mr. Shimp’s opinions is McCorvey, 298 F.3d

 1253. There, the 11th Circuit affirmed the district court’s ruling in striking an expert’s affidavit

 submitted in context of a party’s summary judgment motion based on the failure to satisfy the

 reliability factor. Id., at 1256. The affidavit offered testimony on whether a catheter had a design

 defect which caused the plaintiff’s injuries. Id. at 1256. Defendants moved to strike and exclude

 the testimony of the proffered expert for his failure to base his opinions on methods and procedures

 of science. Id. In affirming the district court’s ruling, the 11th Circuit agreed that the expert’s

 engineering report was not reliable, as the expert did not conduct any testing on the catheter, did

 not talk to medical personnel, did not cite scientific literature in support of his theories, and did

 not consider or test for other possibilities. Id., at 1256-1257. Like in McCorvey, Mr. Shimp



 7
   Mr. Shimp provided an opinion in the Underlying Action on two limited topics: Arch’s claims as to the payment of
 PCOs, and as a rebuttal witness as to RAP’s calculation of delay damages. Mr. Shimp was not retained to provide an
 opinion in the Underlying Action as to professional services or Damages to Windows, Storefront or Curtainwall.
 8
   Exhibit C, p. 64-70.
                                                        15
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 conducted no testing or analysis, at the Project or otherwise, to test or support his opinions, nor

 did he talk to any of the contractors or subcontractors at the Project. Instead, he mimics others’

 conclusions and estimates, and opines as to legal obligations under a contract. McCorvey, thus,

 should guide this Court is striking Mr. Shimp’s opinions.

          Similarly, in Farley v. Oceania Cruises, 2015 WL 1131015 *7-8 (S.D. Fla. March 15,

 2015), the district court struck the testimony of a maritime expert based on its unreliability where

 the expert relied primarily on secondary written materials to reach his conclusions. The district

 court found that this was not enough to establish the reliability factor as the expert “failed to inspect

 the vessel where the accident took place or interview any crew members [] cite any publications

 or experiments to support his opinion [and] did not provide a detail explanation of how his

 experience supports his opinions.” Id.; see also In re: Accutane Products Liability, 511 F. Supp.

 2d 1288 (M.D. Fla. 2007) (striking expert report which relied on clinical trials without an

 independent inquiry as to the methodology as it did not satisfy the requirements of Daubert and

 Fed. R. Evid. 702); Hall v. Flannery, 2016 WL 6543513 (7th Cir. November 4, 2016) (admission

 of expert’s testimony in medical malpractice trial warranted a new trial where there was no

 information provided regarding the expert’s knowledge and related experience, in contravention

 of Daubert requirements).

          Here, like the conclusions reached in McCorvey and Farley, Mr. Shimp’s “opinions” lack

 the requisite reliability under Daubert. Mr. Shimp renders his opinions without having conducted

 any inspection of the curtain wall or window system and without having conducted any testing at

 the Project whatsoever. In fact, the sum total of Mr. Shimp’s testing is to characterize the

 underlying court’s reliance on another’s testing as being “justified.” Exhibit “B”, p. 6.9 And, Mr.


 9
  Mr. Shimp’s report states, “The Court’s reliance on IBA’s diagnostic testing and both non-destructive and destructive
 inspections was justified.” Id.
                                                          16
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 Shimp provides no explanation or basis as to how or why he concludes others estimates are

 “reasonable.” 10 Id.; see Sorrels v. NCL (Bahamas) Ltd., 796 F.3d 1275, 1286 (11th Cir. 2015)

 (stating that the trial court’s gatekeeping function requires more than simply “taking the expert’s

 word for it”, and there is nothing in either Daubert or the Federal Rules of Evidence that requires

 a district court to admit opinion evidence “by the ipse dixit of the expert.”). Without having

 conducted any testing, taken any measurements, photographs or collected data, etc., Mr. Shimp’s

 opinion are speculative at best, and fail to satisfy the Daubert requirements.

                           b.       Mr. Shimp Has Not Conducted any Independent Testing
                                    or Investigation on the Project

         Mr. Shimp does not provide any explanation of how his general experience in the

 construction industry specifically qualifies him to render opinions on repairs to a curtain wall and

 the window system for the Project, or to adopt cost estimates relating to same, particularly when

 he admittedly has neither inspected the window system, conducted testing on the Project, nor

 offered any opinions as to the building envelope in the Underlying Action. Exhibit C, p. 39-40.

 Mr. Shimp further provides no support for his conclusion that IBA’s/Auld & White’s repair costs

 were reasonable, and how he reached that conclusion.11 See McGee v. Evenflo Co., 2003 U.S.

 Dist. LEXIS 25039, at *13 (M.D. Ga. Dec. 11, 2003) (stating that “the accepted methodology,

 characterizing the practice of an expert in the field of engineering, simply does not involve

 guesswork or even conjecture . . . .”).



 10
    Mr. Shimp merely states, “d. IBA’s estimate of $3,762,821 to correct TSG’s work was reasonable” and “e. IBA/Auld
 & White’s estimate of damages to the work of others as necessitated by the correction of TSG’s work in the amount
 of $1, 062,492 was reasonable.”
 11
    There is no indication that Mr. Shimp spoke with and/or surveyed any contractors, subcontractors or others to
 determine if the costs estimates for the material and/or labor to repair the window systems and/or curtain wall – as
 provided by IBA and/or Auld & White – are consistent with the market rates or industry standards for the type of work
 to be provided. McGee, 2003 U.S. Dist. LEXIS 25039, at *13 (M.D. Ga. Dec. 11, 2003) (stating that the accepted
 methodology does not involve guesswork or even conjecture; rather, accepted methodology involves “some inquiry
 into industry standards, practices, or publications and results in conclusions based upon concrete data, testing,
 measurements, or calculations.”).
                                                         17
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        Additionally, Mr. Shimp provides an opinion on whether Auchter was providing

 professional services in the form of inspection services, mock-up and pre-installation meetings and

 testing without conducting any independent investigation or testing on the Project. Mr. Shimp

 opinions are devoid of any indicia of reliability, e.g., documentation to support his conclusions,

 background research or interviews with personnel of RAP, Auchter, IBA, Auld & White or any of

 the subcontractors that were working on the Project to discuss his conclusions. There is no

 indication the Mr. Shimp spoke with anyone that was actually on the Project, and/or worked at the

 locations where the repair work was performed. A district court can properly excludes expert

 testimony where the expert has conducted no independent research, and the expert does not provide

 any support for his assumptions, and instead relies on a “leap of faith.” Winn-Dixie Stores, Inc. v.

 Dolgencorp, LLC, 862 F. Supp. 2d 1322, 1333-34 (S. D. Fla. 2012).

        In their entirety, Mr. Shimp’s opinions show that he has not employed any clear specific

 technique or methodology, as required by Daubert, nor has he done any testing to form his

 opinions. His opinions lack the requisite independent analysis to support his conclusions as to the

 defects at the Project, any damage at the Project, costs to repair the Project or the validity of his

 conclusions. And, he offers no evidence to indicate whether his conclusions are generally accepted

 in the scientific community. Rather, Mr. Shimp merely adopts the findings made by the trial court

 in the Final Judgment, and IBA’s estimates and conclusions, without making any of his own

 findings regarding the topics of his opinion. See Eberli, 615 F. Supp. 2d at 1364 (striking expert

 testimony concerning the cause of the failure of an aircraft’s engine because the expert’s opinion

 were based on conclusions and findings made by another expert). Mr. Shimp’s opinions are,

 therefore, unreliable, and should be stricken.




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        C.      Mr. Shimp’s Statements as to the Construction Contract Violate the
                Parol Evidence Rule and Invade the Court’s Domain

        The interpretation of a contract falls within the Court’s domain as a purely legal question.

 See Socas v. Northwestern Mutual Life Ins. Co., 829 F. Supp. 2d 1262, 1266-67 (S.D. Fla. 2011)

 (construing a contract is within the province of the court); Browning v. Navarro, 743 F.2d 1069,

 1080 (5th Cir. 1984) (“Where the issue is solely a question of interpreting contractual language, it

 is a question of law.”). Additionally, the Parol Evidence Rule, “precludes consideration of

 extrinsic evidence to contradict, vary, or add to the terms of an unambiguous written agreement

 absent fraud, accident or mistake.” Birmingham Fire Ins. Co. of Penn., et al. v. Comcar Industries,

 Inc., et al., 2008 U.S. Dist. LEXIS 88597 (M.D. Fla. Oct. 20, 2008); State Nat. Ins. Co. v. Lamberti,

 et al., 2009 WL 702239 *2 (S.D. Fla. March 17, 2009) (this court has consistently held that parol

 evidence is not admissible where terms of contract are complete and unambiguous).

        Mr. Shimp’s attempt to opine as to the scope, effect and meaning of the Construction

 Contract violates these well-settled principles. Birmingham Fire Ins. Co. of Penn., 2008 U.S. Dist.

 LEXIS 88597 ("[t]he parol evidence rule precludes consideration of extrinsic evidence to

 contradict, vary, or add to the terms of an unambiguous written agreement . . . .”). Moreover, the

 construction contract includes an integration clause at Article 1, which states that “[t]his

 Subcontract, and all documents incorporated by reference herein, represents the entire and

 integrated agreement between the parties and supersedes all prior negotiations, representations,

 proposals, stipulations or agreements, either written or oral.” Exhibit “D.” The construction

 contract clearly states that no extrinsic information, documentation, or communication can act to

 supersede the plain language of the construction contract. The language of the construction

 contract is the best evidence of the parties’ intent, and the plain meaning controls. See Limu Co.

 LLC v. Burling, 2013 WL 3462327 *5 (M.D. Fla. July 9, 2013). The introduction of extrinsic

                                                  19
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 evidence to aid in the interpretation of a contract is prohibited unless the contract is ambiguous.

 Hashwani v. Barbar, 822 F.2d 1038, 1040 (11th Cir. 1987) (citing Uransky v. First Federal

 Savings and Loan Ass'n of Ft. Myers, 684 F.2d 750 (11th Cir. 1982)). Mr. Shimp offers no

 explanation, justification or even suggestion as to why this Court needs, or would even benefit,

 from being lectured as to the meaning of the Construction Contract. The Construction Contract is

 clear and unambiguous, and Arch has not argued otherwise, nor did it argue as much in the

 Underlying Action. As Florida law does not permit – nor does the Court need – extrinsic

 information to interpret contractual provisions, the Shimp reports, for these additional reasons, are

 inadmissible, and should be stricken and excluded.

        WHEREFORE,            Defendants,     AMERISURE         INSURANCE        COMPANY          and

 AMERISURE MUTUAL INSURANCE COMPANY, respectfully requests that this Court enter

 an Order granting its Motion to Strike the opinions and reports of Steven C. Shimp, exclude Steven

 C. Shimp from offering any testimony at trial, bar Arch from seeking to offer such opinions at

 trial, and for such further relief as the Court deems proper and just.

  CERTIFICATE OF GOOD FAITH CONFERENCE; CONFERRED BUT UNABLE TO
                RESOLVE ISSUES PRESENTED IN MOTION

        Pursuant to Local Rule 3.01(g), we hereby certify that counsel for the movant has conferred

 with all parties or non-parties who may be affected by the relief sought in this motion in a good

 faith effort to resolve the issues and have been unable to resolve the issue.

 Dated: November 8, 2016.

                                                Respectfully submitted,
                                                By:     /s/ Andrew F. Russo
                                                      Attorney for Amerisure Insurance Company and
                                                      Amerisure Mutual Insurance Company




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 8, 2016, the foregoing document is being served
 on all parties who have appeared through the Court’s CM/ECF system.


                                           By:      /s/ Andrew F. Russo
                                                 Attorney for Amerisure Insurance Company and
                                                 Amerisure Mutual Insurance Company
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